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            EXHIBIT 3
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U.S. Patent No. 10,771,849, Claim 1
A method
comprising:




                                             1
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receiving audio     YouTube uses two kinds of Players (“YT Player”) for receiving encoded audio and video segments:
and video
segments            YouTube App Players (e.g., iOS, Smart TVs, streaming devices, Chrome)
encoded in a
digital encoding
format and with
an encoding rate;




                                                                   2
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2. Web-based Video Playback

When a video is launched, YouTube uses a Java player. Example below:




YouTube Video, https://www.youtube.com/watch?v=beamS4GZ5T8 (“Video”).




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The YT Player player is served by YouTube to the user:




Video.




                                                4
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receiving audio     YouTube stream data identifies the protocol used for receiving encoded audio and video segments as MPEG-DASH.
and video
segments            <?xml version="1.0" encoding="UTF-8"?> <MPD xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
encoded in a        xmlns="urn:mpeg:dash:schema:mpd:2011"
digital encoding    xmlns:xlink="http://www.w3.org/1999/xlink" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011
format and with     http://standards.iso.org/ittf/PubliclyAvailableStandards/MPEG-DASH_schema_files/DASH-MPD.xsd"
an encoding rate;   minBufferTime="PT1.5S"
                    mediaPresentationDuration="PT144S" type="static" profiles="urn:mpeg:dash:profile:isoff-main:2011">
                    Video MPD file (XML).

                    Video.




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receiving audio     Media on YouTube is comprised of video and audio segments:
and video
segments
encoded in a
digital encoding
format and with
an encoding rate;




                    Video.




                                                               6
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receiving audio     The video and audio segments are visible:
and video
segments
encoded in a
digital encoding
format and with
an encoding rate;




                                               For the highlighted Representation of the media segments, here is the MOOF (green) (infra at 9).

                                 Note Google’s signature on the segment creation (base media file format). This format is referenced on page 2.

                    Video.




                                                                     7
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receiving audio     The video and audio segments are visible:
and video
segments
encoded in a
digital encoding
format and with
an encoding rate;




                    Video.

                                                                                                   Here is the MDAT (green) (infra at 9).

                                                                                   Note segments are explicitly stamped DASH by Google


                    <AdaptationSet id="0" mimeType="video/mp4" …>
                                           …
                                           <Representation id="133" codecs="avc1.4d4015" …">

                                <AdaptationSet id="2" mimeType="audio/mp4" …>

                                           <Representation id="140" codecs="mp4a.40.2" bandwidth="130565">
                    Video.




                                                                  8
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receiving audio     The MPEG-DASH standard requires segments:
and video
segments            Segments possess moof and mdat data.
encoded in a
digital encoding
format and with
an encoding rate;




                    Ex. 19, Ye-Kui Wang & Thomas Stockhammer (slides mostly by Thomas Stockhammer [Dr. Thomas Stockhammer is the
                    Technical Standards Director at Qualcomm and leads the ATSC 3.0 profile for DASH]) An Introduction to DASH (Dynamic
                    Adaptive Streaming over HTTP) ), at 14 (April 2015).

                    MOOF is a movie fragment.

                    MDAT is a box which can hold the actual media data for a presentation.




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receiving audio     As shown below, the YT Player receives data in two digital encoding formats: AVC1 and mp4a.
and video
segments            The Media Presentation Description (“MPD”) file for this MPEG-DASH data shows that the video is in the AVC1 format and
encoded in a        the audio is in MP4A format:
digital encoding
format and with     <MPD xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance" xmlns="urn:mpeg:dash:schema:mpd:2011"
an encoding rate;   xmlns:xlink="http://www.w3.org/1999/xlink" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011
                    http://standards.iso.org/ittf/PubliclyAvailableStandards/MPEG-DASH_schema_files/DASH-MPD.xsd"
                    minBufferTime="PT1.5S" mediaPresentationDuration="PT144S" type="static" profiles="urn:mpeg:dash:profile:isoff-
                    main:2011">

                    <Period>
                                       <AdaptationSet id="0" mimeType="video/mp4" …>
                                              …
                                              <Representation id="133" codecs="avc1.4d4015" …">

                               <AdaptationSet id="2" mimeType="audio/mp4" …>

                                              <Representation id="140" codecs="mp4a.40.2" bandwidth="130565">
                    Video (excerpt).


                    These two data formats are codecs. AVC1 (green), also known as H264, is a video encoding format, whereas MP4A (green)
                    is used here as an audio encoding format.




                                                                    10
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 receiving audio       The YT Player also receives, for selection, segments with multiple encoding rates tied to bandwidth (yellow):
 and video
 segments
 encoded in a          144p: <Representation id="160" codecs="avc1.4d400c" startWithSAP="1" bandwidth="93785" width="256" height="144"
 digital encoding      frameRate="24000/1001">
 format and with       240p: <Representation id="133" codecs="avc1.4d4015" startWithSAP="1" bandwidth="115889" width="426" height="240"
 an encoding           frameRate="24000/1001">
 rate;                 480p: <Representation id="135" codecs="avc1.4d401e" startWithSAP="1" bandwidth="337134" width="854" height="480"
                       frameRate="24000/1001">
                       360p: <Representation id="134" codecs="avc1.4d401e" startWithSAP="1" bandwidth="223902" width="640" height="360"
                       frameRate="24000/1001">
                       720p: <Representation id="136" codecs="avc1.4d401f" startWithSAP="1" bandwidth="690142" width="1280" height="720"
                       frameRate="24000/1001">

                       Video (exemplary excerpt).

 receiving audio       The MPEG-DASH standard requires encoding rates:
 and video
 segments
 encoded in a
 digital encoding
 format and with
 an encoding
 rate;




                       Ex. 14, Information technology — Dynamic adaptive streaming over HTTP (DASH), ISO/IEC 23009-1, at Table 9, p. 46 (3rd
                       Ed. 2019).1


1 The second through fifth editions of the MPEG-DASH standard do not possess any changes that impact Google and YouTube in this litigation.

Changes made to the third edition from second are described in Exhibit 14 (Third Ed.) at pages 6-7. Changes made to the fourth edition from the
third are described int Exhibit 20 (Fourth Ed.) at 7-8. Changes made to the fifth edition from the fourth are described in Exhibit 21 (Fifth Ed.) at 7.


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wherein, said        The media has a YouTube MPD that defines several segment streams associated with object parameters, such as
audio and video      size (height X width), frame rate and encoding rates:
segments are
associated with      <MPD … mediaPresentationDuration="PT144S" …>
                              <Period>
object
                                         <AdaptationSet id="0" mimeType="video/mp4" …>
parameters and                                      <Role schemeIdUri="urn:mpeg:DASH:role:2011" value="main"/>
supplied host path                                  <Representation id="133" codecs="avc1.4d4015" startWithSAP="1" bandwidth="115889" width="426" height="240"
identification to    frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                     ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
form multimedia
                     AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=133&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
objects;             p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                     ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                     1731819&amp;dur=144.143&amp;lmt=1572601141606755&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                     sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOEA94RUMTgd5OR8ONUKa_ZV8KTMYT-bCba-
                     N0nE-
                     WdmAiA3Sk4GMcxhQmu6yLqFhnaLoO8RBnWJGki44FxDeAiQ5Q==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOL
                     sAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                     …
                                                    </Representation>
                                                    <Representation id="135" codecs="avc1.4d401e" startWithSAP="1" bandwidth="337134" width="854" height="480"
                     frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                     ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                     AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=135&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
                     p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                     ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                     5086723&amp;dur=144.143&amp;lmt=1572601141608802&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                     sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgEVcwUiupOlb979-
                     kSV5tuHfVkJfrSGv3nSowV0AzJfsCIHVhxSUedGbXO0iY_cn9M62H0siMspFj01OwCCH-
                     GjDi&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe
                     0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                     …
                                                    </Representation>
                                                    <Representation id="134" codecs="avc1.4d401e" startWithSAP="1" bandwidth="223902" width="640" height="360"
                     frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                     ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                     AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=134&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
                     p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                     ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                     3315031&amp;dur=144.143&amp;lmt=1572601141632693&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                     sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOqh5ZOnTl0qH8HPdUWBfp8fob91gasix8G4dLQ8k_
                     sqAiBXuUmney8sM6S_Kmhka3osUa3-
                     Gz1PWm01V5ntttN3eg==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepU
                     B7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                     …
                                                    </Representation>
                                                    <Representation id="160" codecs="avc1.4d400c" startWithSAP="1" bandwidth="93785" width="256" height="144"
                     frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                     ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                     AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=160&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am

                                                                           12
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p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
1207858&amp;dur=144.143&amp;lmt=1572601141607791&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhANdabKIHwuZFZbazvEK0_CkjOXOvF3cgdyLQs05RX
W8WAiBbo2uUuT_3nl-
1ZGvZViu_WuYmAJivw3Tx6RDJdN2E6g==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0
QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>
                               <Representation id="136" codecs="avc1.4d401f" startWithSAP="1" bandwidth="690142" width="1280" height="720"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=136&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
10698681&amp;dur=144.143&amp;lmt=1572601141611448&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp
;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgYAtIsozwFNXhP9CN63Wb0VXUbm8zHPrvOA2PEZn
zGvoCID5bwD-QGfsrnOlgpj0w3-
JY3SjtcozQ5gjregVqObi3&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB
7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>
                    </AdaptationSet>
…
        </Period>
</MPD>

Video.




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wherein, said        The MPEG-DASH standard discloses object parameters, and some object parameters are identified below:
audio and video
segments are
associated with
object
parameters and
supplied host path
identification to
form multimedia
objects;




                     Ex. 14, ISO/IEC 23009-1, at Table 13, internal p. 54.




                     Id. at internal p. 55.




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wherein, said       The MPD defines several segment streams that are also associated with host path identifiers, such as URLs:
audio and video
segments are        <MPD … mediaPresentationDuration="PT144S" …>
associated with              <Period>
                                        <AdaptationSet id="0" mimeType="video/mp4" …>
object parameters                                  <Role schemeIdUri="urn:mpeg:DASH:role:2011" value="main"/>
and supplied                                       <Representation id="133" codecs="avc1.4d4015" startWithSAP="1" bandwidth="115889" width="426" height="240"
host path           frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
identification to   ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                    AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=133&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
form multimedia     p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
objects;            ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                    1731819&amp;dur=144.143&amp;lmt=1572601141606755&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                    sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOEA94RUMTgd5OR8ONUKa_ZV8KTMYT-bCba-
                    N0nE-
                    WdmAiA3Sk4GMcxhQmu6yLqFhnaLoO8RBnWJGki44FxDeAiQ5Q==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOL
                    sAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                    …
                                                   </Representation>
                                                   <Representation id="135" codecs="avc1.4d401e" startWithSAP="1" bandwidth="337134" width="854" height="480"
                    frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                    ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                    AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=135&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
                    p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                    ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                    5086723&amp;dur=144.143&amp;lmt=1572601141608802&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                    sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgEVcwUiupOlb979-
                    kSV5tuHfVkJfrSGv3nSowV0AzJfsCIHVhxSUedGbXO0iY_cn9M62H0siMspFj01OwCCH-
                    GjDi&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe
                    0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                    …
                                                   </Representation>
                                                   <Representation id="134" codecs="avc1.4d401e" startWithSAP="1" bandwidth="223902" width="640" height="360"
                    frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                    ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                    AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=134&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
                    p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                    ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                    3315031&amp;dur=144.143&amp;lmt=1572601141632693&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                    sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOqh5ZOnTl0qH8HPdUWBfp8fob91gasix8G4dLQ8k_
                    sqAiBXuUmney8sM6S_Kmhka3osUa3-
                    Gz1PWm01V5ntttN3eg==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepU
                    B7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                    …
                                                   </Representation>
                                                   <Representation id="160" codecs="avc1.4d400c" startWithSAP="1" bandwidth="93785" width="256" height="144"
                    frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                    ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                    AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=160&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
                    p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-

                                                                          15
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ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
1207858&amp;dur=144.143&amp;lmt=1572601141607791&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhANdabKIHwuZFZbazvEK0_CkjOXOvF3cgdyLQs05RX
W8WAiBbo2uUuT_3nl-
1ZGvZViu_WuYmAJivw3Tx6RDJdN2E6g==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0
QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>
                               <Representation id="136" codecs="avc1.4d401f" startWithSAP="1" bandwidth="690142" width="1280" height="720"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=136&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
10698681&amp;dur=144.143&amp;lmt=1572601141611448&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp
;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgYAtIsozwFNXhP9CN63Wb0VXUbm8zHPrvOA2PEZn
zGvoCID5bwD-QGfsrnOlgpj0w3-
JY3SjtcozQ5gjregVqObi3&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB
7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>
                    </AdaptationSet>
…
        </Period>
</MPD>


Video.

The MPEG-DASH standard discloses a host path identification:




Ex. 14, ISO/IEC 23009-1, at internal p. 85.




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wherein, said audio      These YouTube segments with associated objects and URLs are multimedia objects (green):
and video segments
are associated with      <MPD … mediaPresentationDuration="PT144S" …>
object parameters               <Period>
                                         <AdaptationSet id="0" mimeType="video/mp4" …>
and supplied host                                 <Role schemeIdUri="urn:mpeg:DASH:role:2011" value="main"/>
path identification to
form multimedia                                       <Representation id="133" codecs="avc1.4d4015" startWithSAP="1" bandwidth="115889" width="426" height="240"
objects;                 frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                         ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                         AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=133&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&
                         amp;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                         ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;cle
                         n=1731819&amp;dur=144.143&amp;lmt=1572601141606755&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432
                         &amp;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOEA94RUMTgd5OR8ONUKa_ZV8KTMYT
                         -bCba-N0nE-
                         WdmAiA3Sk4GMcxhQmu6yLqFhnaLoO8RBnWJGki44FxDeAiQ5Q==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIg
                         OLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                         …
                                                      </Representation>

                                                      <Representation id="135" codecs="avc1.4d401e" startWithSAP="1" bandwidth="337134" width="854" height="480"
                         frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                         ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                         AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=135&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&
                         amp;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                         ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;cle
                         n=5086723&amp;dur=144.143&amp;lmt=1572601141608802&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432
                         &amp;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgEVcwUiupOlb979-
                         kSV5tuHfVkJfrSGv3nSowV0AzJfsCIHVhxSUedGbXO0iY_cn9M62H0siMspFj01OwCCH-
                         GjDi&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCP
                         Ne0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                         …
                                                      </Representation>

                                                      <Representation id="134" codecs="avc1.4d401e" startWithSAP="1" bandwidth="223902" width="640" height="360"
                         frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
                         ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                         AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=134&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&
                         amp;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
                         ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;cle
                         n=3315031&amp;dur=144.143&amp;lmt=1572601141632693&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432
                         &amp;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOqh5ZOnTl0qH8HPdUWBfp8fob91gasix8
                         G4dLQ8k_sqAiBXuUmney8sM6S_Kmhka3osUa3-
                         Gz1PWm01V5ntttN3eg==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3ue
                         pUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                         …
                                                      </Representation>




                                                                            17
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                             <Representation id="160" codecs="avc1.4d400c" startWithSAP="1" bandwidth="93785" width="256" height="144"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=160&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&
amp;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;cle
n=1207858&amp;dur=144.143&amp;lmt=1572601141607791&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432
&amp;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhANdabKIHwuZFZbazvEK0_CkjOXOvF3cgdy
LQs05RXW8WAiBbo2uUuT_3nl-
1ZGvZViu_WuYmAJivw3Tx6RDJdN2E6g==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzY
Uo0QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                             </Representation>

                             <Representation id="136" codecs="avc1.4d401f" startWithSAP="1" bandwidth="690142" width="1280" height="720"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=136&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&
amp;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;cle
n=10698681&amp;dur=144.143&amp;lmt=1572601141611448&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432
&amp;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgYAtIsozwFNXhP9CN63Wb0VXUbm8zHPrv
OA2PEZnzGvoCID5bwD-QGfsrnOlgpj0w3-
JY3SjtcozQ5gjregVqObi3&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uep
UB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                             </Representation>
                   </AdaptationSet>
…
        </Period>
</MPD>

Video.




                                                    18
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requesting by a      The YT Player requests transmission of multimedia objects:
multimedia player,
transmission of
said multimedia
objects;




                     Video.




                                                                 19
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wherein said        The YT Players locates the multimedia objects through a URL:
multimedia
objects are
located using
http and received
by said
multimedia player
from servers
using a wireless
connection;




                    Video.




                                                                20
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wherein said         The YT Player receives multimedia objects from Google’s content servers:
multimedia
objects are
located using http
and received by
said multimedia
player from
servers using a
wireless
connection;




                                                                 21
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                               22
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https://peering.google.com/#/ (last accessed, Mar. 31, 2024).


For example:




https://peering.google.com/#/infrastructure (last visited Mar. 31, 2024).




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                     See also, Seven Networks, LLC v. Google LLC, 315 F. Supp. 3d 933, 948 (E.D. Tex. 2018):




wherein said         Multimedia objects from YouTube can be received using a wireless connection:
multimedia
objects are
located using http
and received by
said multimedia
player from          Use YouTube on mobile browsers, https://support.google.com/youtube/answer/3008060?hl=en (last visited Mar. 31, 2024)
servers using a
wireless             See also, below:
connection;




                     Id.


                                                                    24
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playing back           The YouTube playback of multimedia objects is sequential:
received
multimedia
objects by the
multimedia
player, wherein
the multimedia
player is
configured to
play multimedia
objects in a
sequence such
that fluidity, video
quality and audio
quality are
maintained by
selecting a
plurality of said
multimedia
objects that reflect
available network
bandwidth,
autonomously
adjusting said
                       In this media example, the currently playing sequence of multimedia objects are the Representation segments (green).
selection and
                       Notice the playback of segments is sequential.
playback
according to the
multimedia object
parameters and
supplied host path
identification, and
by




                                                                       25
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The MPEG-DASH standard discloses sequential multimedia object playback.




Ex. 14, ISO/IEC 23009-1, at § 4.5.3, internal p. 15.




                                                   26
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playing back          YouTube playback fluidity, video quality, and audio quality are maintained based on multiple versions of each
received              stream that fit available bandwidth:
multimedia
objects by the
multimedia
player, wherein
the multimedia
player is
configured to play
multimedia
objects in a
sequence such
that fluidity,
video quality and
audio quality are
maintained by
selecting a
plurality of said
multimedia
objects that
reflect available
network
bandwidth,
autonomously
adjusting said
selection and
playback
according to the
multimedia object
parameters and
supplied host path
identification, and
by




                      Ex. 18, Making high quality video efficient, YouTube Engineering and Developers Blog, https://youtube-
                      eng.googleblog.com/2018/04/making-high-quality-video-efficient.html (Apr. 24, 2018), at 1.


                                                                       27
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playing back          YouTube playback fluidity, video quality, and audio quality are maintained based on multiple versions (yellow) of
received              each video that reflect available bandwidth (green):
multimedia
objects by the        <MPD … mediaPresentationDuration="PT144S" …>
                               <Period>
multimedia
                                          <AdaptationSet id="0" mimeType="video/mp4" …>
player, wherein                                      <Role schemeIdUri="urn:mpeg:DASH:role:2011" value="main"/>
the multimedia        …
player is                                            <Representation id="160" codecs="avc1.4d400c" startWithSAP="1" bandwidth="93785" width="256" height="144"
                      frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
configured to play
                      ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
multimedia            AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=160&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
objects in a          p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
sequence such         ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                      1207858&amp;dur=144.143&amp;lmt=1572601141607791&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
that fluidity,
                      sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhANdabKIHwuZFZbazvEK0_CkjOXOvF3cgdyLQs05RX
video quality and     W8WAiBbo2uUuT_3nl-
audio quality are     1ZGvZViu_WuYmAJivw3Tx6RDJdN2E6g==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0
maintained by         QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
selecting a
                      …
plurality of said                                    <Representation id="133" codecs="avc1.4d4015" startWithSAP="1" bandwidth="115889" width="426" height="240"
multimedia            frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
objects that          ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                      AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=133&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
reflect available
                      p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
network               ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
bandwidth,            1731819&amp;dur=144.143&amp;lmt=1572601141606755&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
autonomously          sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOEA94RUMTgd5OR8ONUKa_ZV8KTMYT-bCba-
                      N0nE-
adjusting said
                      WdmAiA3Sk4GMcxhQmu6yLqFhnaLoO8RBnWJGki44FxDeAiQ5Q==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOL
selection and         sAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
playback              …
according to the                                     </Representation>
multimedia object
                                                     <Representation id="135" codecs="avc1.4d401e" startWithSAP="1" bandwidth="337134" width="854" height="480"
parameters and        frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
supplied host path    ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
identification, and   AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=135&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
                      p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
by
                      ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                      5086723&amp;dur=144.143&amp;lmt=1572601141608802&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                      sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgEVcwUiupOlb979-
                      kSV5tuHfVkJfrSGv3nSowV0AzJfsCIHVhxSUedGbXO0iY_cn9M62H0siMspFj01OwCCH-
                      GjDi&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe
                      0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                      …
                                                     </Representation>




                                                                            28
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                               <Representation id="134" codecs="avc1.4d401e" startWithSAP="1" bandwidth="223902" width="640" height="360"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=134&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
3315031&amp;dur=144.143&amp;lmt=1572601141632693&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOqh5ZOnTl0qH8HPdUWBfp8fob91gasix8G4dLQ8k_
sqAiBXuUmney8sM6S_Kmhka3osUa3-
Gz1PWm01V5ntttN3eg==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepU
B7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>

                               <Representation id="136" codecs="avc1.4d401f" startWithSAP="1" bandwidth="690142" width="1280" height="720"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=136&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
10698681&amp;dur=144.143&amp;lmt=1572601141611448&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp
;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgYAtIsozwFNXhP9CN63Wb0VXUbm8zHPrvOA2PEZn
zGvoCID5bwD-QGfsrnOlgpj0w3-
JY3SjtcozQ5gjregVqObi3&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB
7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>
                    </AdaptationSet>
…
        </Period>
</MPD>

Video.




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For adaptive multi-bit-rate playback, MPEG-DASH discloses that the player assesses network bandwidth availability
to select multimedia objects:




Ex. 14, ISO/IEC 23009-1, at internal p. 24.




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playing back           The YT Player selects the Representation based on bandwidth:
received
multimedia
objects by the
multimedia
player, wherein
the multimedia
player is
configured to play
multimedia
objects in a
sequence such
that fluidity, video
quality and audio
quality are            Ex. 18, Making high quality video efficient, YouTube Engineering and Developers Blog, https://youtube-
maintained by          eng.googleblog.com/2018/04/making-high-quality-video-efficient.html (Apr. 24, 2018).
selecting a
plurality of said      YouTube engineering documentation explicitly states that the YouTube player (on the client) autonomously (i.e.,
multimedia             without server-side intervention) adjusts the video playback.
objects that reflect
available network
bandwidth,
autonomously
adjusting said
selection and
playback
according to the
multimedia
object
parameters and
supplied host
path
identification,
and by




                       Id.

                                                                        31
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playing back           The YT Player autonomously adjusts selection and playback of media variants (green) according to the multimedia
received               object parameters (blue):
multimedia
objects by the         <MPD … mediaPresentationDuration="PT144S" …>
                                <Period>
multimedia
                                           <AdaptationSet id="0" mimeType="video/mp4" …>
player, wherein                                       <Role schemeIdUri="urn:mpeg:DASH:role:2011" value="main"/>
the multimedia         …
player is                                             <Representation id="160" codecs="avc1.4d400c" startWithSAP="1" bandwidth="93785" width="256" height="144"
                       frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
configured to play
                       ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
multimedia             AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=160&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
objects in a           p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
sequence such          ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
                       1207858&amp;dur=144.143&amp;lmt=1572601141607791&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
that fluidity, video
                       sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhANdabKIHwuZFZbazvEK0_CkjOXOvF3cgdyLQs05RX
quality and audio      W8WAiBbo2uUuT_3nl-
quality are            1ZGvZViu_WuYmAJivw3Tx6RDJdN2E6g==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0
maintained by          QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
selecting a
                       …
plurality of said                                     <Representation id="133" codecs="avc1.4d4015" startWithSAP="1" bandwidth="115889" width="426" height="240"
multimedia             frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
objects that reflect   ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
                       AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=133&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
available network
                       p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
bandwidth,             ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
autonomously           1731819&amp;dur=144.143&amp;lmt=1572601141606755&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
adjusting said         sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOEA94RUMTgd5OR8ONUKa_ZV8KTMYT-bCba-
                       N0nE-
selection and
                       WdmAiA3Sk4GMcxhQmu6yLqFhnaLoO8RBnWJGki44FxDeAiQ5Q==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOL
playback               sAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
according to the       …
multimedia                                            </Representation>
object
                                                      <Representation id="135" codecs="avc1.4d401e" startWithSAP="1" bandwidth="337134" width="854" height="480"
parameters and         frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
supplied host          ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
path                   AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=135&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
                       p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
identification,
                       ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
and by                 5086723&amp;dur=144.143&amp;lmt=1572601141608802&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
                       sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgEVcwUiupOlb979-
                       kSV5tuHfVkJfrSGv3nSowV0AzJfsCIHVhxSUedGbXO0iY_cn9M62H0siMspFj01OwCCH-
                       GjDi&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB7POlNSDsCIQCPNe
                       0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
                       …
                                                      </Representation>




                                                                             32
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                               <Representation id="134" codecs="avc1.4d401e" startWithSAP="1" bandwidth="223902" width="640" height="360"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=134&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
3315031&amp;dur=144.143&amp;lmt=1572601141632693&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp;
sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRQIhAOqh5ZOnTl0qH8HPdUWBfp8fob91gasix8G4dLQ8k_
sqAiBXuUmney8sM6S_Kmhka3osUa3-
Gz1PWm01V5ntttN3eg==&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepU
B7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>

                               <Representation id="136" codecs="avc1.4d401f" startWithSAP="1" bandwidth="690142" width="1280" height="720"
frameRate="24000/1001"><BaseURL>https://r2---sn-8xgp1vo-
ab5l.googlevideo.com/videoplayback?expire=1605735198&amp;ei=vj61X9bkKpfqhwax4pqACg&amp;ip=71.168.227.177&amp;id=o-
AFV1hi0nYBq0Rw9li7YlzQUZAydkyXvkpzQkTYZr_wOK&amp;itag=136&amp;aitags=133,134,135,136,160,242,243,244,247,278,394,395,396,397,398&am
p;source=youtube&amp;requiressl=yes&amp;mh=y2&amp;mm=31,29&amp;mn=sn-8xgp1vo-ab5l,sn-
ab5l6ndy&amp;ms=au,rdu&amp;mv=m&amp;mvi=2&amp;pl=17&amp;initcwndbps=2136250&amp;vprv=1&amp;mime=video/mp4&amp;gir=yes&amp;clen=
10698681&amp;dur=144.143&amp;lmt=1572601141611448&amp;mt=1605713472&amp;fvip=2&amp;keepalive=yes&amp;c=WEB&amp;txp=5535432&amp
;sparams=expire,ei,ip,id,aitags,source,requiressl,vprv,mime,gir,clen,dur,lmt&amp;sig=AOq0QJ8wRAIgYAtIsozwFNXhP9CN63Wb0VXUbm8zHPrvOA2PEZn
zGvoCID5bwD-QGfsrnOlgpj0w3-
JY3SjtcozQ5gjregVqObi3&amp;lsparams=mh,mm,mn,ms,mv,mvi,pl,initcwndbps&amp;lsig=AG3C_xAwRQIgOLsAprMcbVKdKqMNzYUo0QnNsNx2r3uepUB
7POlNSDsCIQCPNe0axLBBKoKYu8yYzrcHQ1ihEcCS49CCzlnZYxoitg==</BaseURL>
…
                               </Representation>
                    </AdaptationSet>
…
        </Period>
</MPD>

Video.

Selection and playback of media variants is also based on the host path identification (yellow).




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The MPEG-DASH standard requires the media stream to possess multimedia object parameters for selection and
playback.




Ex. 14, ISO/IEC 23009-1, at internal p. 10.


The MPEG-DASH standard also discloses a host path identification.




Id. at internal p. 12.




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utilizing          YouTube uses optimized decoding to maintain quality playback.
optimized
decoding           Defendants use at least AVC1 to decode YouTube video:
processes to
maintain quality   <MPD xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance" xmlns="urn:mpeg:dash:schema:mpd:2011"
playback.          xmlns:xlink="http://www.w3.org/1999/xlink" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011
                   http://standards.iso.org/ittf/PubliclyAvailableStandards/MPEG-DASH_schema_files/DASH-MPD.xsd"
                   minBufferTime="PT1.5S" mediaPresentationDuration="PT144S" type="static" profiles="urn:mpeg:dash:profile:isoff-
                   main:2011">

                   <Period>
                                      <AdaptationSet id="0" mimeType="video/mp4" …>
                                             …
                                             <Representation id="133" codecs="avc1.4d4015" …">

                              <AdaptationSet id="2" mimeType="audio/mp4" …>

                                             <Representation id="140" codecs="mp4a.40.2" bandwidth="130565">
                   Video (excerpt).

                   AVC-1 encoding and decoding optimizations, including DCT, are described by the AVC-1 Specification:




                   Ex. 23, Information technology — Coding of audio-visual objects, ISO/IEC 14496-10 (10th Ed., 2022-11) at 223-24.

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Id. at 225-28.




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